Case 1:24-cv-00045-AW-ZCB Document 8-3 Filed 03/26/24 Page 1 of 7

IN THE COURT OF COMMON PLEAS
SUMMIT COUNTY, OHIO

CASE NUMBER: CV-2023-09-3595

JUDGE: KATHRYN MICHAEL ORDER FILED: 11/01/2023

NOTICE °

TO: we
JEREMY HALES os

2436 W STREETSBORO RD nh
Peninsula, OH 44264 mi

You are hereby notified that the following has been filed with the Summit County Clerk of Courts Office:

FINAL CIVIL PROTECTION ORDER (SSOOPO), THE TERMS OF THIS ORDER SHALL BE EFFECTIVE
UNTIL 10-10-2025 (R.C.2903.214) MAGISTRATE KANDI O'CONNOR/JUDGE KATHRYN MICHAEL

Sandra Kurt, Clerk
Summit County Clerk of Courts
2 of 7
Case 1:24-cv-00045-AW-ZCB Document 8-3 Filed 03/26/24 Page

FORM 10-c: Case Ne
WARNING CONCERNING THE ATTACHED, yy
PROTECTION ORDER OR CONSENT AGREERENFA KU HT

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Ei OF COURTS

Respondent/Defendant to
changed by either party wi

S required by R.C,
ble grounds to

FORM 10-C: WARNING CONCERNING THE ATTACHED PROTECTION ORDER OR CONSENT AGREEMENT
Effective: Aprij 15, 2021
Case 1:24-cv-0004 95
FORM 10.03-F: CIVIL STALKING PROTEG!

Vent 8-3. Filed 03/26/24 Page 3 of 7

SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL

HEARING
_ IN THE COURT OF COMMON PLEAS

_SUMMIT _ COUNTY, OHI0 o
der of Protection Case No. cv 2023 09 3585 vo.
Per R.C. 2903. 2143) this Order i is indexed at. S
: - Judge’. Kathryn, Michael. :
. Magistrate. _Kandi O'Connor te
SUMMIT COUNTY SHERIFF State OHIO_
LAW ENFORCEMENT AGENCY WHERE INDEXED
(330) 643 + 2184 ml CIVIL STALKING PROTECTION ORDER
PHONE NUMBER FULL HEARING (R.C. 2903. 214) .
CO CIVIL SEXUALLY ORIENTED OFFENSE
PROTECTION ORDER FULL HEARING (R.C. 2903.214)
PETITIONER: _ PERSON(S) PROTECTED BY THIS ORDER:
Petitioner . Jerémy Hales 03/30/1977
Petitioner's Family or Household Members: .
. (& Additional forms attached)
Jeremy Hales . Martha Rizk Soe . DOB: 05/10/1982
First Middle -  —s Last. Se DOB: -
Ve oe oe So oe DOB:
RESPONDENT: -RESPONDENT. IDENTIFIERS
: SEX — RACE ~HGT-.° WGT
a F | white [| 52. = 115
Lynnette Preston _ _| EYES |” HAIR. |- au - DOB
First Middle Last ted/purple O88 62
ee DRIVER'S LIC. NO.. |. EXP. DATE STATE
Relationship to Petitioner: _ ee

Address where Respondent can be found:
151 N. Otter Creek Ave, Otter Creek, FL 32683.

Distinguishing a reste oe

[1] WARNING TO LAW ENFORCEMENT: RESPONDENT HAS FIREARMS ACCESS + pao wei S
CAUTION : EE

Violence Against Women Act, 18 U.S, C. 2265, Federal Full Faith & Greate Declaration: Regevaion of-th P08 er i >
required for enforcenient.. ay oe : “Ve = —_
THE COURT HEREBY FINDS: ve

That it has jurisdiction over the parties and Subject matter, and Respondent. was 5 provided: dan eSsonabie notice

and opportunity to be heard within the time required by. Ohio. law. Additional findings of this Order ar€ Set forth
below. a no,

THE COURT HEREBY ORDERS: oe
That the above named Respondent be restrained from committing acts of abuse or ‘threats of abuse 2 against
Petitioner and other protected persons. named i in this’ Order. Additional terms of this Order are set forth below.

(DATE CERTAIN — 5 YEARS

The terms of this Order shall be effective unt : “6 : 10° 2025 : _ MAXIMUM)

WARNING TO RESPONDENT: See the warning page » attached to the front of this Order.

FORM 10.03-F: CIVIL. STALKING PROTECTION ORDER OR cM. SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021.
Discard all previous versions of this form.
Case 1:24-cv-00045-AW-ZCB Document 8-3 Filed 03/26/24 Page 4 of 7
[Page 2 of 6 Form 10.03-F]
Case No.

‘This proceeding came on for a full hearing before the Court on: to 0/23 .
The following individuals were present. Petitioner and Respondent Present.

Petitioner, represented by Attorney Eli Heller ‘and Respondent prodeading oro'se, via video conference.

Petitioner presented credible testimony and evidence in support of a civil stalking protection order. The

Court specifically notes that Petitioner and Respondent are neighbors at their properties located in

Florida. That this court order issued in Ohio must be given full faith and credit pursuant to the

Violence Against Women Act, 18 U.S.C. 2265. The court further notes that when the parties are

Located on their own property, that the distance is reduced to 10 feet. When the parties are not on

Their respective properties, the distance remains at 500 feet. This order includes any internet

And/or electronic communications. |

_] Additional findings ona separate page are included and attached herein. °

& The Court finds: by a prepondérahce of the. evidence that Ay Respondent has knowingly engaged ina
pattern of conduct that caused Petitioner to: believe that Respondent will cause physical harm or cause
or has caused mental distress; and 2) the following orders are equitable, fair, and necessary to protect
the persons named in this Order from stalking offenses. . a we

FORM 10,03-F: CIVIL STALKING PROTECTION ORDER OR cML SEXUALLY ORIENTED D OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021
Discard all previous versions of this form
Case 1:24-cv-00045-AW-ZCB Document 8-3 Filed 03/26/24 - Page 5 of 7
[Page 3 of 6 Form 10.03-F]

ALL OF THE PROVISIONS CHECKED BELOW ALSO APPLY TO RESPONDENT

xI1. RESPONDENT SHALL NOT ENTER the residence, ‘school, business, place of employinent, day care
centers, or child care providers. of the protected persons named in this Order, including the buildings,
grounds, and parking lots at those locations. Respondent may not violate this Order even with the
permission ¢ ofa protected | person. » INCIC 04]

4. RESPONDENT SHALL STAY AWAY FROM PETITIONER and’ all other + protected persons named in

this Order, and not be. present within 500 feet or 10 feet while on (distance) of any ‘protected
own property |

persons \ wherever those protected persons may be found, or any place Respondent knows or should

know the protected persons are likely to be, even witha protected person’s permission. If

Respondent.accidentally comes in contact with protected persons in _any public or private place,

Respondent must depart immediately. This Order includes. encounters on n public and private roads,

highways, and thoroughfares. Nee 04) mo SO

J7. RESPONDENT SHALL NOT INITIATE OR HAVE ANY CONTACT with, the @ protected f persons named
in this Order or their. residences, businesses, places of émployment, schools; day care centers, or child
care providers. : -Contact includes, but is: ‘not limited to, landline; cordless, cellular or digital -
telephone; text; instant messaging; fax;.e-mail; Voicemail: delivery service; social media;
blogging; writings; electronic communications; posting a message; or F communications by any other
means directly.or through another Person. . mo poo,

Respondent may not violate this Order even with the permission of: a protected person, INCIC 05]

FORM 10.03-F: CIVIL STALKING PROTECTION ORDER oR emi SEXUALLY ORIENTED OFFENSEP PROTECTION ORDER FULL HEARING

Amended: April 15, 2021-"
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Case 1:24-cv-00045-AW-ZCB Document’8-3 Filed 03/26/24 Page 6 of 7

"- [Page 4 of 6 Form 10.03-F]
’- Gase No.

9. pesrowsesi a SHALL NOT CAUSE OR RENCOURAGE A ANY PERSON to do any act prohibited by
is Order. «2. wb, ay

(13. IT Is FURTHER ORDERED: [NCIC 08]

L115. R

FORM 10.03-F: CIVIL STALKING PROTECTION ORDER OR cM SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING
Amended: April 15, 2021 Ls . : : .
Discard all previous versions of this: form:
Case 1:24-cv-00045-AW-ZCB Document 8-3 Filed 03/26/24 Page 7 of 7
[Page 5 of 6 Form 10.03-F]
Case No.

> Oe. RESPONDENT SHALL-BE SUBRCT-TO SLECTRONIC MONITORING. -Respendentic-onlered
toreportte

for placement of a global paslloning Sjslom Tor the purpose of-clestronis manllering forthe duration!

this Order or until / / whichever expires first. The Court further
imposes the following terms and conditions:

bJ17. The Clerk of Court shall cause a copy of this Order to be served on Respondent as set forth in Civ.R.
9(B) and 65.1(C)(3). The Clerk of Court shall also provide certified copies of this Order to Petitioner
upon request.

18. IF THE FULL HEARING PROCEEDING WAS REFERRED TO A MAGISTRATE, the Court has
reviewed the magistrate’s granting of this Order and finds no error of law or other defect
evident on the face of the Order. Accordingly, the Court adopts the magistrate’s granting of this
Order.

19. FH4S- FURTHER ORDERED NO COSTS OR-FEES SHALL BE ASSESSED AGAINST PETITIONER
forfiling, issuing, registering, modifying_enforcing,_dismissing withdrawing, serving, of subpoenaing
witnesses-or obtaining-a-certified copy ofthis OrdertThis- Orderis granted-without bond.

20. THE COSTS OF THIS ACTION ARE [_Jassessed. against Respondent DX]waived.
ff ;

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et lel

MAGISTRATE KANDI O’CONNOR | Vj hike DGB Kathryn Michael
YT he

(*

ty NOTICE TO RESPONDENT

NO PERSON PROTECTED BY THIS ORDER CAN GIVE YOU LEGAL PERMISSION TO CHANGE OR
VIOLATE THE TERMS OF THIS ORDER. IF YOU VIOLATE THE TERMS OF THIS ORDER, EVEN WITH THE
PROTECTED PERSON’S PERMISSION, YOU MAY BE HELD IN CONTEMPT OR ARRESTED. ONLY THE
COURT CAN CHANGE THIS ORDER. YOU ACT AT YOUR OWN RISK IF YOU DISREGARD THIS WARNING.

NOTICE OF FINAL APPEALABLE ORDER | TO THE. CLERK
A COPY OF THIS ORDER SHALL BE SERVED ON
RESPONDENT PURSUANT TO CIV.R. 65.1(C)(3).

Copies of the foregoing Order, which is a final

appealable order, were served on or delivered X Petitioner
to the parties indicated pursuant to Civ.R. ] Petitioner's Attorney
5(B) and 65.1(C)(3), including ordinary mail [_] Respondent's Attorney

[X] Law Enforcement Agency Where Petitioner Resides:
on x / / / A / AS

. ail L] Law Enforcement Agency Where Petitioner Works:
» Zs
CLERK OF COURT Sheriff's Office
Summit
(] Other:

FORM 10.03-F: CIVIL STALKING PROTECTION ORDER OR CIVIL SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021
Discard all previous versions of this form

